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 8                          UNITED STATES DISTRICT COURT

 9                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

10                              March 2022 Grand Jury

11   UNITED STATES OF AMERICA,               CR   2:22-cr-00162-RGK

12             Plaintiff,                    I N D I C T M E N T

13             v.                            [18 U.S.C. § 1349: Conspiracy to
                                             Commit Wire Fraud; 18 U.S.C.
14   VICTOR BELONOGOFF,                      § 1343: Wire Fraud; 18 U.S.C.
       aka “Vic Morris,”                     § 981(a)(1)(C) and 28 U.S.C.
15     aka “Thomas Randall,”                 § 2461(c): Criminal Forfeiture]
       aka “James Thompson,”
16
               Defendant.
17

18
          The Grand Jury charges:
19
                                       COUNT ONE
20
                                  [18 U.S.C. § 1349]
21
     A.   INTRODUCTORY ALLEGATIONS
22
          At times relevant to this Indictment:
23
          1.    Render Media Inc., formerly known as Deep Dive Media LLC
24
     (“Deep Dive”) and later Opposing Views Inc. (“Opposing Views”)
25
     (collectively “Render”), was a digital media company based in Los
26
     Angeles, California, that published digital media content on its
27
     websites, and that earned revenue from companies that paid to
28
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 1   advertise on Render’s websites, including OpposingViews.com and

 2   CookingPanda.com.

 3        2.    Defendant VICTOR BELONOGOFF, also known as (“aka”) “Vic

 4   Morris,” aka “Thomas Randall,” aka “James Thompson,” was a resident

 5   of Los Angeles County, California.

 6        3.    Defendant BELONOGOFF was the Chief Executive Officer

 7   (“CEO”), Chief Financial Officer, Secretary, and a member of the

 8   Board of Directors of Render, which he cofounded with Render’s

 9   Chairman, E.E.

10        4.    Coconspirator Aryeh Kluger was a Render vice president who

11   worked remotely from his home in Texas.

12        5.    Render maintained bank accounts at Bank of America (“BOA”)

13   and Silicon Valley Bank (“SVB”).

14   B.   THE OBJECT OF THE CONSPIRACY

15        6.    Beginning no later than August 2010, and continuing until
16   in or about December 2018, in Los Angeles County, within the Central
17   District of California, and elsewhere, defendant BELONOGOFF conspired
18   with Kluger and others known and unknown to the Grand Jury, to commit
19   wire fraud, specifically, to engage in a scheme to defraud and obtain
20   money and property from Render and its investors using interstate
21   wires, in violation of Title 18, United States Code, Section 1343.
22   C.   MANNER AND MEANS OF THE CONSPIRACY
23        7.    The object of the conspiracy was carried out, and was to be
24   carried out, in substance, as follows:
25              a.    Defendant BELONOGOFF and others working in concert
26   with defendant BELONOGOFF formed digital media and advertising
27   companies from which defendant BELONOGOFF financially benefited,
28   including Orchid Media LLC (“Orchid”); Serene Media LLC (“Serene
                                            2
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 1   Media”); Cmon Media LLC (“Cmon Media”); B3 Media LP, also known as

 2   “B3 Media LLC” (“B3 Media”); Looking Glass Media Group LLC, also

 3   known as “LG Media LLC” (“Looking Glass Media”); and Action

 4   Publishing Group LLC (“Action Publishing”) (collectively “the

 5   fraudulent digital media companies”).

 6              b.    Through the fraudulent digital media companies,

 7   defendant BELONOGOFF operated websites, including the following:

 8       DIGITAL MEDIA COMPANY       WEBSITE
         Orchid                      BusinessInward.com
 9

10       Serene Media                SocialXtreme.com (also known as “SX”)

11       Cmon Media                  Newsiosity.com

12       B3 Media                    AllThatsNews.com
13       B3 Media                    AllThatsFab.com
14

15              c.    To conceal his financial interests in the fraudulent

16   digital media companies, defendant BELONOGOFF formed and operated

17   those companies using nominees and aliases. For example, defendant

18   BELONOGOFF formed Orchid in the name of C.B., a nominee, and then

19   used C.B.’s means of identification to operate Orchid. Defendant

20   BELONOGOFF also used the aliases “Thomas Randall” and “James

21   Thompson” to operate Orchid, and the alias “Vic Morris” to help

22   operate Looking Glass Media.

23              d.    Defendant BELONOGOFF concealed and willfully failed to

24   disclose his financial interests in the fraudulent digital media

25   companies to Render’s executives, including R.B., Render’s Chief

26   Operating Officer (“COO”), and Board of Directors, including E.E. .

27              e.    Through the fraudulent digital media companies,

28   defendant BELONOGOFF competed with Render in the digital media and

                                            3
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 1   advertising marketplace, and through fraudulent means, caused Render

 2   to pay the fraudulent digital media companies more than $3 million.

 3              f.   Defendant BELONOGOFF, using his leadership position at

 4   Render, and in contravention of his fiduciary duty to Render, caused

 5   Render to pay the fraudulent digital media companies for products and

 6   services that the fraudulent digital media companies never provided.

 7   For example, defendant BELONOGOFF caused Render to pay Orchid for

 8   video content that Orchid never provided to Render.

 9              g.   Defendant BELONOGOFF caused Render to pay the

10   fraudulent digital media companies for products and services for

11   which Render was never invoiced.

12              h.   Defendant BELONOGOFF caused the fraudulent digital

13   media companies to sell products and services to Render at inflated

14   prices, and caused Render to purchase those products and services at

15   inflated prices from the fraudulent digital media companies. For

16   example, defendant BELONOGOFF caused the fraudulent digital media

17   companies, including Orchid and Serene Media, to purchase internet

18   traffic from third parties at lower rates, then caused Orchid and

19   Serene Media to resell that internet traffic to Render at

20   substantially higher prices. Defendant BELONOGOFF further caused

21   Render to purchase that internet traffic from Orchid and Serene Media

22   at the inflated prices, resulting in a net income loss to Render, all

23   when defendant BELONOGOFF knew that he could have purchased the

24   internet traffic for Render directly from the third parties at the

25   lower prices.

26              i.   Defendant BELONOGOFF and coconspirator Kluger directed

27   internet traffic distributors to code traffic that the distributors

28   sold to the fraudulent digital media companies with Orchid and Serene
                                            4
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 1   Media Urchin Tracking Modules (“UTMs”) and pixels, making it falsely

 2   appear to Render as though Orchid and Serene Media had generated the

 3   internet traffic, and then caused Render to purchase that internet

 4   traffic at inflated prices

 5              j.   Defendant BELONOGOFF and others working in concert

 6   with defendant BELONOGOFF fraudulently directed Render’s clients to

 7   pay revenue to the fraudulent digital media companies knowing Render

 8   was entitled to that revenue.

 9              k.   Defendant BELONOGOFF caused the fraudulent digital

10   media companies to misappropriate Render’s brand and content. For

11   example, defendant BELONOGOFF caused AllThatsNews.com, a B3 Media

12   website, to publish an article from OpposingViews.com, a Render

13   website, and then caused 90 percent of the revenue Render earned from

14   the traffic to be routed to B3 Media.

15              l.   Defendant BELONOGOFF transferred the money that the

16   fraudulent digital media companies obtained to his personal financial

17   accounts and used that money for his personal benefit.

18              m.   Defendant BELONOGOFF also used Render’s lines of

19   credit, including Render’s credit cards, to financially support the

20   fraudulent digital media companies. For example, defendant BELONOGOFF

21   used Render’s credit cards, without authority, to purchase Facebook

22   advertising for AllThatsNews.com and AllThatsFab.com, two websites

23   that B3 Media operated.

24              n.   Defendant BELONOGOFF caused one of Render’s

25   advertisers, Company 3, to lend Render $214,335.86, then falsely

26   classified those funds as revenue to Render, causing Render to obtain

27   a significant line of credit from SVB that Render could not repay.

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 1                o.   In order to conceal the fraud from Render, defendant

 2   BELONOGOFF destroyed records, including emails from Deep Dive and

 3   Render email accounts related to the fraudulent digital media

 4   companies, and provided false testimony at a deposition in a lawsuit

 5   brought against defendant BELONOGOFF related to the fraudulent

 6   digital media companies.

 7   D.   OVERT ACTS

 8        8.      In furtherance of the conspiracy and to accomplish its
 9   object, defendant BELONOGOFF, coconspirator Kluger, and others known
10   and unknown to the Grand Jury, committed and willfully caused others
11   to commit, on or about the dates set forth below, the following overt
12   acts, among others, within the Central District of California, and
13   elsewhere:
14        Overt Act No. 1:       On August 3, 2010, defendant BELONOGOFF sent
15   an email to himself with his login for Google Analytics, listing the
16   username thomas.randall1@gmail.com, an email account later associated
17   with Orchid.
18        Overt Act No. 2:       On March 18, 2011, defendant BELONOGOFF
19   caused B3 Media LP’s Certificate of Limited Partnership to be filed
20   with the California Secretary of State, listing defendant
21   BELONOGOFF’s relative as the General Partner.
22        Overt Act No. 3:       On March 29, 2013, a coconspirator caused
23   Looking Glass Media’s Articles of Organization to be filed with the
24   California Secretary of State.
25        Overt Act No. 4:       On April 8, 2013, a coconspirator caused a
26   Statement of Information naming defendant BELONOGOFF and others as
27   members of Looking Glass Media to be filed with the California
28   Secretary of State.
                                            6
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 1        Overt Act No. 5:       On October 2, 2013, defendant BELONOGOFF

 2   caused Deep Dive to pay Looking Glass Media approximately $3,081.16.

 3        Overt Act No. 6:       On March 3, 2014, defendant BELONOGOFF

 4   caused Cmon Media’s Articles of Organization to be filed with the
 5   California Secretary of State.
 6        Overt Act No. 7:       On March 18, 2014, defendant BELONOGOFF
 7   caused a Statement of Information naming defendant BELONOGOFF’s
 8   relative as Cmon Media’s member to be filed with the California
 9   Secretary of State.
10        Overt Act No. 8:       On July 24, 2014, defendant BELONOGOFF
11   emailed the operating agreement for Cmon Media to Kluger, C.B., and
12   several relatives.
13        Overt Act No. 9:       On August 19, 2014, defendant BELONOGOFF
14   caused Orchid Media’s Articles of Organization to be filed with the
15   California Secretary of State.
16        Overt Act No. 10:      On September 2, 2014, defendant BELONOGOFF
17   caused a Statement of Information naming C.B. as Orchid’s member to
18   be filed with the California Secretary of State.
19        Overt Act No. 11:      On September 3, 2014, defendant BELONOGOFF
20   received an email from coconspirator Kluger that included a draft
21   invoice from Orchid to Deep Dive, and responded “boyyaaa.”
22        Overt Act No. 12:      On September 4, 2014, defendant BELONOGOFF
23   caused Deep Dive to pay Orchid approximately $78,197.
24        Overt Act No. 13:      On October 1, 2014, coconspirator Kluger
25   directed Company 1 to list Orchid on an invoice for certain internet
26   traffic that Company 1 sold to Deep Dive.
27        Overt Act No. 14:      On November 3, 2014, defendant BELONOGOFF
28   and coconspirator Kluger caused Company 1 to invoice Orchid for
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 1   internet traffic that defendant BELONOGOFF intended to resell to

 2   Render at an inflated price.

 3        Overt Act No. 15:      On November 10, 2014, defendant BELONOGOFF

 4   directed coconspirator Kluger to alter an invoice from Deep Dive to
 5   Company 5 so that the invoice was payable to Orchid, rather than to
 6   Deep Dive, the company entitled to the revenue described on the
 7   invoice.
 8        Overt Act No. 16:      On November 25, 2014, defendant BELONOGOFF,
 9   using the alias “Vic Morris,” emailed members of Looking Glass Media
10   to advise them that they would receive distributions.
11        Overt Act No. 17:      On December 2, 2014, coconspirator Kluger
12   forwarded to defendant BELONOGOFF internet traffic invoices addressed
13   to Orchid and Deep Dive that coconspirator Kluger had received from
14   Company 1.
15        Overt Act No. 18:      On December 16, 2014, defendant BELONOGOFF,
16   using the alias “Vic Morris,” emailed coconspirator Kluger to suggest
17   that Orchid purchase internet traffic from Company 2 and sell it to
18   Opposing Views, one of Render’s websites.
19        Overt Act No. 19:      On January 7, 2015, defendant BELONOGOFF
20   caused Opposing Views to pay Orchid approximately $137,398.90.
21        Overt Act No. 20:      On January 27, 2015, defendant BELONOGOFF
22   emailed a financial summary for Cmon Media to members of Looking
23   Glass Media.
24        Overt Act No. 21:      On February 5, 2015, defendant BELONOGOFF
25   emailed R.B., Render’s COO, to say that Render was “supposed to pay
26   Orchid Media on the 1st of every month because they do advertising
27   for us. Can I just do a wire from the OV BOA account,” referring to
28   Opposing Views’s bank account.
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 1          Overt Act No. 22:    On February 9, 2015, defendant BELONOGOFF

 2   and coconspirator Kluger directed an internet traffic distributor to

 3   code its traffic, which defendant BELONOGOFF and coconspirator Kluger

 4   thereafter sold to Render at an inflated price, with Serene Media’s

 5   UTM.

 6          Overt Act No. 23:    On February 9, 2015, defendant BELONOGOFF

 7   caused Opposing Views to pay Orchid approximately $132,631.42.
 8          Overt Act No. 24:    On February 12, 2015, defendant BELONOGOFF
 9   caused Serene Media LLC to be registered in the State of Texas.
10          Overt Act No. 25:    On February 19, 2015, defendant BELONOGOFF
11   caused Opposing Views to pay Looking Glass Media approximately
12   $21,686.81.
13          Overt Act No. 26:    On March 3, 2015, defendant BELONOGOFF and
14   coconspirator Kluger caused Company 1 to invoice Orchid for internet
15   traffic that defendant BELONOGOFF intended to resell to Render at an
16   inflated price.
17          Overt Act No. 27:    On March 5, 2015, defendant BELONOGOFF
18   emailed R.B. to inform R.B. that he had paid the Orchid invoice for
19   February 2015 from Render’s Opposing Views bank account.
20          Overt Act No. 28:    On March 5, 2015, defendant BELONOGOFF
21   caused Opposing Views to pay Serene Media approximately $42,768.94.
22          Overt Act No. 29:    On March 19, 2015, defendant BELONOGOFF
23   directed coconspirator Kluger to send internet traffic from Company 2
24   to “sx,” referring to Serene Media.
25          Overt Act No. 30:    On March 23, 2015, defendant BELONOGOFF
26   directed coconspirator Kluger via email to use C.B.’s signature to
27   sign a contract between Orchid and Company 1, and provided
28
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 1   coconspirator Kluger with an electronic file containing C.B.’s

 2   signature.

 3        Overt Act No. 31:      On March 23, 2015, defendant BELONOGOFF

 4   emailed members of Looking Glass Media to say that Newsiosity.com, a
 5   Cmon Media website, “just reached 1 million likes of Facebook [sic],”
 6   and advising the partners that he intended to decrease marketing
 7   expenses so that they could “start using the profits for partner
 8   distributions.”
 9        Overt Act No. 32:      On April 3, 2015, defendant BELONOGOFF and
10   coconspirator Kluger caused Company 1 to invoice Orchid for internet
11   traffic that defendant BELONOGOFF intended to resell to Render at an
12   inflated price.
13        Overt Act No. 33:      On April 5, 2015, after coconspirator Kluger
14   emailed defendant BELONOGOFF with proposed spending numbers for
15   Orchid, SX (referring to Serene Media), Company 2, and Facebook
16   boosting, defendant BELONOGOFF responded that he and Kluger should
17   discuss the spending the next day.
18        Overt Act No. 34:      On April 6, 2015, defendant BELONOGOFF
19   emailed R.B. to approve payment to SocialXtreme (Serene Media) and
20   asked whether Render could process the payment “as soon as possible.”
21        Overt Act No. 35:      On April 10, 2015, defendant BELONOGOFF
22   responded via email to R.B.’s request for a contact at Orchid by
23   writing “sales@theorchidteam.com Let me get you a phone number . . .
24   I just spoke to them.”
25        Overt Act No. 36:      On April 13, 2015, defendant BELONOGOFF
26   asked R.B. via a chat messenger program when “socialxtreme and Orchid
27   will get paid,” and told R.B. “They are hounding me.”
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 1        Overt Act No. 37:      On April 14, 2015, defendant BELONOGOFF

 2   caused Opposing Views to pay Serene Media approximately $101,237.66.

 3        Overt Act No. 38:      On April 15, 2015, using the alias “Vic

 4   Morris,” defendant BELONOGOFF emailed members of Looking Glass to say
 5   that he sent out a $30,000 distribution, to which one of the members
 6   responded, “Booyaaaaaaa!!!! Playersssss.”
 7        Overt Act No. 39:      On May 4, 2015, defendant BELONOGOFF and
 8   coconspirator Kluger caused Company 1 to invoice Orchid for internet
 9   traffic that defendant BELONOGOFF intended to resell to Render at an
10   inflated price.
11        Overt Act No. 40:      On May 13, 2015, defendant BELONOGOFF caused
12   Opposing Views to pay Serene Media approximately $79,524.22.
13        Overt Act No. 41:      On May 17, 2015, defendant BELONOGOFF
14   emailed two of his relatives, one of whom was the registrant of Cmon
15   Media, to say that the company’s website had 7,500 visitors and that
16   they “were on the right track for sure,” to which defendant
17   BELONOGOFF’s relative responded, among other things, “That’s cray.
18   Let’s keep this going.”
19        Overt Act No. 42:      On May 19, 2015, defendant BELONOGOFF
20   emailed an employee of a digital media company, “We use another
21   company called Orchid. They are friends of mine and send traffic as a
22   favor as they mostly send traffic to all of their own sites . . .”
23        Overt Act No. 43:      On May 19, 2015, defendant BELONOGOFF, using
24   the “Vic Morris” alias, wrote to members of Looking Glass to say that
25   “there is not much going on with LG Media anymore,” that Looking
26   Glass was “running Opposing Views,” and suggesting that they “wind
27   things down.”
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 1        Overt Act No. 44:      On June 1, 2015, defendant BELONOGOFF

 2   approved via email a May 2015 invoice from SocialXtreme to Render.

 3        Overt Act No. 45:      On June 2, 2015, defendant BELONOGOFF and

 4   coconspirator Kluger caused Company 1 to invoice Orchid for internet
 5   traffic that defendant BELONOGOFF intended to resell to Render at an
 6   inflated price.
 7        Overt Act No. 46:      On June 2, 2015, defendant BELONOGOFF caused
 8   Deep Dive to pay Looking Glass Media approximately $79,095.20.
 9        Overt Act No. 47:      On June 11, 2015, defendant BELONOGOFF
10   caused Opposing Views to pay Orchid approximately $117,889.67.
11        Overt Act No. 48:      On July 3, 2015, after E.E. discovered that
12   Newsiosity.com, Cmon Media’s website, had published Render’s video
13   content without permission, defendant BELONOGOFF falsely told E.E.
14   and other Render executives that Newsiosity, which defendant
15   BELONOGOFF referred to as a Looking Glass Media website, was
16   “syndicating” and that posting the video “was just a test.”
17        Overt Act No. 49:      On July 17, 2015, defendant BELONOGOFF
18   caused Opposing Views to pay Serene Media approximately $84,183.53.
19        Overt Act No. 50:      On August 19, 2015, defendant BELONOGOFF
20   emailed C.B. ideas for Orchid domain names, including
21   orchidmediaco.com, orchidemedia.net, and orchidmediagroup.com.
22        Overt Act No. 51:      On October 2, 2015, defendant BELONOGOFF
23   directed coconspirator Kluger to send him September 2015 invoice
24   numbers for Orchid and SocialXtreme.
25        Overt Act No. 52:      On January 19, 2016, defendant BELONOGOFF
26   caused Opposing Views to pay Orchid approximately $102,984.73.
27        Overt Act No. 53:      On January 19, 2016, defendant BELONOGOFF
28   caused Opposing Views to pay Serene Media approximately $68,656.48.
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 1        Overt Act No. 54:      On January 26, 2016, defendant BELONOGOFF

 2   caused Opposing Views to pay Looking Glass Media approximately

 3   $43,413.00.

 4        Overt Act No. 55:      On February 12, 2016, defendant BELONOGOFF

 5   caused Opposing Views to pay Looking Glass Media approximately
 6   $5,202.13.
 7        Overt Act No. 56:      On February 17, 2016, defendant BELONOGOFF
 8   emailed coconspirator Kluger to ask if he had the social security
 9   number of Serene Media’s nominee registrant, telling coconspirator
10   Kluger that he needed “it for taxes.”
11        Overt Act No. 57:      On February 29, 2016, defendant BELONOGOFF
12   emailed the members of Looking Glass Media to tell them that they
13   would get distributions for the previous year, and asking the members
14   to pay him money so that he could pay Looking Glass Media’s taxes.
15        Overt Act No. 58:      On February 29, 2016, when Render’s
16   accounting team asked for information on Orchid and SocialXtreme,
17   defendant BELONOGOFF responded via email, “Orchid - They do
18   advertising for us. They have a network of social influencers who
19   send traffic (clicks) to all of our sites. SocialXtreme - Same as
20   Orchid.”
21        Overt Act No. 59:      On March 14, 2016, when Render’s accounting
22   team requested a working email address for SocialXtreme, defendant
23   BELONOGOFF responded via email, “I know that their main one for any
24   issues/info is admin@socialxtreme.com.”
25        Overt Act No. 60:      On March 28, 2016, defendant BELONOGOFF
26   caused Opposing Views to pay Looking Glass Media approximately
27   $61,392.00
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 1        Overt Act No. 61:      On April 6, 2016, defendant BELONOGOFF

 2   caused Opposing Views to pay Serene Media approximately $21,955.53.

 3        Overt Act No. 62:      On May 3, 2016, an associate of defendant

 4   BELONOGOFF asked defendant BELONOGOFF via email for $25,000, writing,
 5   among other things, “I know socialX is getting money from OV, pay me
 6   out of that :) Haha.”
 7        Overt Act No. 63:      On May 24, 2016, defendant BELONOGOFF
 8   emailed to R.B. and Render’s accounting team the April 2016 invoice
 9   from Orchid to Render.
10        Overt Act No. 64:      On June 8, 2016, defendant BELONOGOFF caused
11   Opposing Views to pay Cmon Media approximately $29,358.00.
12        Overt Act No. 65:      On June 16, 2016, defendant BELONOGOFF
13   caused Render to pay Looking Glass Media approximately $10,827.00.
14        Overt Act No. 66:      On July 8, 2016, defendant BELONOGOFF caused
15   Render to pay Cmon Media approximately $20,781.00.
16        Overt Act No. 67:      On July 12, 2016, defendant BELONOGOFF
17   emailed Render’s Senior Advertisement Operation Manager, and,
18   referring to Cmon Media in the third person, wrote, “Cmon Media
19   really never needs anything as they are pretty much self sufficient.”
20        Overt Act No. 68:      On August 8, 2016, defendant BELONOGOFF
21   emailed R.B., “The folks over at Cmon Media want to redesign their
22   websites.”
23        Overt Act No. 69:      On September 15, 2016, defendant BELONOGOFF
24   signed Render’s employee handbook, effective January 1, 2015,
25   agreeing, among other things, not to take part or exert influence
26   over transactions in which defendant BELONOGOFF’s own interests could
27   conflict with the best interests of Render.
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 1           Overt Act No. 70:   On March 23, 2017, defendant BELONOGOFF

 2   caused Render to pay Orchid approximately $6,750.00.

 3           Overt Act No. 71:   On December 1, 2016, defendant BELONOGOFF

 4   caused Render to pay Orchid approximately $13,500.00.
 5           Overt Act No. 72:   On December 5, 2016, defendant BELONOGOFF
 6   caused Render to pay Cmon Media approximately $93,815.99.
 7           Overt Act No. 73:   On December 12, 2016, defendant BELONOGOFF
 8   emailed a member of Render’s accounting team to say that “Orchid
 9   Media should be $15,075 for November.”
10           Overt Act No. 74:   On January 20, 2017, defendant BELONOGOFF
11   caused B3 Media LLC’s Articles of Organization to be filed with the
12   California Secretary of State, converting B3 Media LP into B3 Media
13   LLC.
14           Overt Act No. 75:   On May 3, 2017, defendant BELONOGOFF signed
15   a de facto loan agreement with Company 3 providing that Company 3
16   would prepay Render $214,336.86 to advertise through Render and that
17   Render would repay this amount with the revenue that Render earned
18   thereafter.
19           Overt Act No. 76:   On May 15, 2017, defendant BELONOGOFF
20   emailed R.B. to represent that Render owed Orchid $6,975 for April
21   2017.
22           Overt Act No. 77:   On May 23, 2017, defendant BELONOGOFF
23   emailed a member of Render’s accounting department and falsely
24   classified a portion of the $214,336.86 loan from Company 3 as
25   revenue.
26           Overt Act No. 78:   On June 5, 2017, defendant BELONOGOFF caused
27   Render to pay Cmon Media approximately $24,255.81.
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 1        Overt Act No. 79:      On June 7, 2017, when R.B. asked defendant

 2   BELONOGOFF whether Render had to buy “videos from Orchid Media in

 3   June” 2017, defendant BELONOGOFF responded via email “Yes. And we are

 4   still behind in video content for CP,” referring to Cooking Panda, a

 5   Render website.

 6        Overt Act No. 80:      On June 9, 2017, defendant BELONOGOFF

 7   emailed a member of Render’s accounting team with revenue
 8   classification numbers.
 9        Overt Act No. 81:      On June 25, 2017, when coconspirator Kluger
10   advised defendant BELONOGOFF via email that American Express was
11   rejecting the use of Render’s credit card to buy Facebook
12   advertising, defendant BELONOGOFF responded that he had the balance
13   of the credit card paid down, adding “Living to the limit.”
14        Overt Act No. 82:      On August 9, 2017, defendant BELONOGOFF
15   caused Render to pay B3 Media approximately $1,558.69.
16        Overt Act No. 83:      On August 28, 2017, defendant BELONOGOFF
17   caused Render to pay Cmon Media approximately $3,738.67.
18        Overt Act No. 84:      On September 1, 2017, defendant BELONOGOFF
19   caused Render to pay Orchid approximately $8,100.00.
20        Overt Act No. 85:      On September 1, 2017, defendant BELONOGOFF
21   caused Render to pay B3 Media approximately $7,956.36.
22        Overt Act No. 86:      On September 1, 2017, defendant BELONOGOFF
23   caused Render to pay Action Publishing approximately $21,559.27.
24        Overt Act No. 87:      On September 19, 2017, defendant BELONOGOFF
25   emailed a member of Render’s accounting team with revenue
26   classification numbers.
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 1        Overt Act No. 88:      On September 25, 2017, defendant BELONOGOFF

 2   emailed a member of Render’s accounting team to ask them to “figure

 3   out some sort of payment plan” for Render’s credit card.

 4        Overt Act No. 89:      On October 6, 2017, defendant BELONOGOFF

 5   caused Render to pay B3 Media approximately $5,048.47.
 6        Overt Act No. 90:      On October 9, 2017, defendant BELONOGOFF
 7   directed Company 4 to add a B3 Media “pixel,” or an advertising code,
 8   to Opposing Views’s “lander,” or Opposing Views’s homepage, making it
 9   appear as though B3 Media, rather than Company 4, generated internet
10   traffic for Opposing Views.
11        Overt Act No. 91:      On October 23, 2017, defendant BELONOGOFF
12   caused a Statement of Information, naming “James Thompson” as
13   Orchid’s sole member and listing Orchid’s address as a private
14   mailbox that defendant BELONOGOFF rented, to be filed with the
15   California Secretary of State.
16        Overt Act No. 92:      On October 25, 2017, defendant BELONOGOFF
17   caused Orchid’s website, BusinessInward.com, to be registered.
18        Overt Act No. 93:      On October 30, 2017, defendant BELONOGOFF
19   caused Render to pay Orchid approximately $7,425.00.
20        Overt Act No. 94:      On November 27, 2017, defendant BELONOGOFF
21   caused Render to pay Orchid approximately $4,050.00.
22        Overt Act No. 95:      On November 27, 2017, defendant BELONOGOFF
23   caused Render to pay Cmon Media approximately $10,356.68.
24        Overt Act No. 96:      On November 27, 2017, defendant BELONOGOFF
25   caused Render to pay B3 Media approximately $6,041.13.
26        Overt Act No. 97:      On December 14, 2017, defendant BELONOGOFF
27   falsely advised E.E. via email that Company 3 did not owe Render
28   certain money because Render breached a contract with Company 3,
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 1   concealing the fact that he had falsely caused de facto loan proceeds

 2   from Company 3 to be classified as revenue on Render’s books.

 3        Overt Act No. 98:      On December 21, 2017, defendant BELONOGOFF

 4   emailed coconspirator Kluger and others, referring to a Cmon Media
 5   website, “Starting to send a little traffic now to one page on
 6   allthatsnews. Facebook boosting usually takes 24 hours to figure out
 7   cost so we will know what our true CPC is by tomorrow.”
 8        Overt Act No. 99:      On December 26, 2017, defendant BELONOGOFF
 9   published content to AllThatsNews.com under the username “vic.”
10        Overt Act No. 100:     On January 9, 2018, defendant BELONOGOFF
11   texted R.B., “Do you know when orchid, Cmon and B3 are getting paid?
12   I’m getting hounded.”
13        Overt Act No. 101:     On January 16, 2018, When E.E. confronted
14   defendant BELONOGOFF about his interests in B3 Media, defendant
15   BELONOGOFF falsely told E.E. that he did not use Render’s money to
16   support B3 Media.
17        Overt Act No. 102:     On January 17, 2018, defendant BELONOGOFF
18   falsely told E.E. that he had no financial interest in
19   BusinessInward, an Orchid website.
20        Overt Act No. 103:     In January 2018, having received from
21   Render’s counsel a notice to preserve evidence related to the
22   fraudulent digital media companies, defendant BELONOGOFF deleted
23   emails from his Deep Dive and Render email accounts related to the
24   fraudulent digital media companies.
25        Overt Act No. 104:     On January 25, 2018, within days of his
26   termination from Render, defendant BELONOGOFF, using the alias “James
27   Thompson,” caused Orchid to be dissolved through the California
28   Secretary of State.
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 1        Overt Act No. 105:     On December 18, 2018, in an effort to

 2   conceal the fraud he committed on Render, defendant BELONOGOFF made

 3   statements under oath during a deposition that were false, including

 4   that he never received money directly from Orchid, never received

 5   money from Looking Glass Media, and could not recall using the

 6   aliases “Thomas Randall” or “James Thompson.”

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 1                              COUNTS TWO THROUGH TEN

 2                      [18 U.S.C. § 1343; 18 U.S.C. § 2(a)]

 3        9.    The Grand Jury re-alleges paragraphs 1 through 4, 6 and 7

 4   of this Indictment here.

 5   A.   THE SCHEME TO DEFRAUD

 6        10.   Beginning no later than August 2010, and continuing until
 7   in or around December 2018, in Los Angeles County, within the Central
 8   District of California, and elsewhere, defendant BELONOGOFF, together
 9   with others known and unknown to the Grand Jury, knowingly and with
10   intent to defraud, devised, participated in, and executed a scheme to
11   defraud Render and its investors as to material matters and to obtain
12   money and property from such victims by means of material false and
13   fraudulent pretenses, representations, and promises, and the
14   concealment of material facts.
15        11.   The fraudulent scheme operated and was carried out, in
16   substance, as described in paragraph 6 of this Indictment.
17   B.   USE OF THE WIRES
18        12.   On or about the dates set forth below, in Los Angeles
19   County, within the Central District of California, and elsewhere, for
20   the purpose of executing the scheme to defraud described above,
21   defendant BELONOGOFF transmitted, caused the transmission of, and
22   aided and abetted the transmission of, the following items by means
23   of wire and radio communication in interstate and foreign commerce:
24     COUNT         DATE               INTERSTATE WIRE TRANSMISSION
     TWO          1/19/2016     A money transfer of approximately
25                              $102,984.73 from a BOA account in the name
                                of Opposing Views to a BOA account in the
26
                                name of Orchid.
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 1     COUNT         DATE               INTERSTATE WIRE TRANSMISSION
     THREE        4/6/2016      A money transfer of approximately $21,955.53
 2                              from a BOA account in the name of Opposing
                                Views to a BOA account in the name of Serene
 3
                                Media.
 4
     FOUR         5/20/2016     A money transfer of approximately $50,759
 5                              from a BOA account in the name of Opposing
                                Views to a BOA account in the name of
 6                              Looking Glass Media.
 7
     FIVE         10/4/2016     A money transfer of approximately $9,461.87
 8                              from an SVB account in the name of Render to
                                a BOA account in the name of Cmon Media.
 9
     SIX          5/15/2017     An email from defendant BELONOGOFF to R.B.
10                              communicating to R.B. that Render was to pay
                                Orchid for services that Orchid purportedly
11
                                provided in April 2017.
12
     SEVEN        6/7/2017      An email from defendant BELONOGOFF to R.B.
13                              advising R.B. that Render should continue to
                                pay Orchid for video content.
14
     EIGHT        11/27/2017    A money transfer of approximately $4,050
15
                                from an SVB account in the name of Render to
16                              a BOA account in the name of Orchid.

17   NINE         11/27/2017    A money transfer of approximately $10,356.68
                                from an SVB account in the name of Render to
18                              a BOA account in the name of Cmon Media.
19
     TEN          11/27/2017    A money transfer of approximately $6,041.13
20                              from an SVB account in the name of Render to
                                a BOA account in the name of B3 Media.
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 1                              FORFEITURE ALLEGATION

 2             [18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c)]

 3        1.    Pursuant to Rule 32.2 of the Federal Rules of Criminal

 4   Procedure, notice is hereby given that the United States of America

 5   will seek forfeiture as part of any sentence, pursuant to Title 18,

 6   United States Code, Section 981(a)(1)(C) and Title 28, United States

 7   Code, Section 2461(c), in the event of the conviction of defendant

 8   VICTOR BELONOGOFF, also known as “Vic Morris,” “Thomas Randall,” and

 9   “James Thompson,” of any of the offenses set forth in Counts One

10   through Ten of this Indictment.

11        2.    The defendant, if so convicted, shall forfeit to the United

12   States of America the following:

13              (a)   all right, title, and interest in any and all

14   property, real or personal, constituting, or derived from, any

15   proceeds traceable to the offenses; and

16              (b)   To the extent such property is not available for

17   forfeiture, a sum of money equal to the total value of the property

18   described in subparagraph (a).

19        3.    Pursuant to Title 21, United States Code, Section 853(p),

20   as incorporated by Title 28, United States Code, Section 2461(c), the

21   defendant, if so convicted, shall forfeit substitute property, up to

22   the value of the property described in the preceding paragraph if, as

23   the result of any act or omission of the defendant, the property

24   described in the preceding paragraph or any portion thereof (a)

25   cannot be located upon the exercise of due diligence; (b) has been

26   transferred, sold to, or deposited with a third party; (c) has been

27   placed beyond the jurisdiction of the court; (d) has been

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 1   substantially diminished in value; or (e) has been commingled with

 2   other property that cannot be divided without difficulty.

 3                                              A TRUE BILL
 4

 5
                                                       /S/
                                                Foreperson
 6

 7   TRACY L. WILKISON
     United States Attorney
 8

 9

10   SCOTT M. GARRINGER
     Assistant United States Attorney
11   Chief, Criminal Division

12   RANEE A. KATZENSTEIN
     Assistant United States Attorney
13   Chief, Major Frauds Section

14   KRISTEN A. WILLIAMS
     Assistant United States Attorney
15   Deputy Chief, Major Frauds Section

16   GREGORY BERNSTEIN
     Assistant United States Attorney
17   Major Frauds Section

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